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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

Doe,
Plainti]j‘,

v. Civil No. 3:17cv364 (]BA)

Quinnipiac University, et al,
Defendants.

 

RULING ON DEFENDANTS’ MOTION FOR PROTECTIVE ORDER [DOC. # 62]
On May 30, 2018, Plaintiff noticed the deposition of Defendant Quinnipiac University to
be taken through the testimony of Defendant’s designated 30(b)(6) Witness(es) on ]une 28, 2018
on 17 topics to Which no objection Was taken. On ]une 27, 2018, Defendant sought a protective
order to prevent the deposition of one of its 30(b)(6) designees Seann Kalagher from going
forward, based on two meritless grounds:
1) that Kalagher Will also be deposed as a fact Witness; and
2) that two other designated 30(b)(6) Witnesses have “addressed a majority of the
seventeen M t_och_s (emphases in original) addressed in the notice.” [Doc. #
62, Def’ s Motion].
Given the separate and distinct purposes of 30(b)(6) and fact depositions, Plaintiff is
entitled to proceed With the two depositions separately, unless Defendant stipulates that

Kalagher’s testimony in its entirety Will be deemed to serve both purposes, and Will bind

Defendant.

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Further, Defendant offers no good cause Why its Motion for Protective Order Was only
filed at 3:45 p.m. the day before the 30(b)(6) deposition that Was scheduled to take place nearly a
month earlier, and offers the Court no legal authority Why the claimed inefficiency and undue
burden of deposing Kalagher on two separate days for two separate purposes justifies unilateral
cancellation of the next-day deposition. Accordingly, Defendant shall pay any costs resulting
from the cancellation.

Defendant’s Motion for Protective Order [Doc. # 62] is DENIED.

IT IS SO ORDERED.

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Dated at NeW Haven, Connecticut:

